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4

5    Attorney for Defendant
     ELISEO JARA, JR.
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8                           IN THE UNITED STATED DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )   Case No.: 1:12-cr-000213 AWI
                                                    )
12                  Plaintiff,                      )   AMENDED REQUEST FOR
                                                    )   EXONERATION OF PROPERTY BOND
13          vs.                                     )   AND RECONVEYANCE AND ORDER
                                                    )
14   ELISEO JARA, JR.,                              )
                                                    )
15                  Defendant.                      )
16

17          On December 13, 2012, a deed of trust was filed with the court to secure the release of
18   the above-named defendant as follows:
19          Owners of Record and Trustors: Eliseo Jara, Jr. and Lisa S. Jara
20          APN: 403-131-14
21          Deed of Trust No.: 0212170899, Docket number 114
22          Amount Secured: $100,000
23          The case has concluded as to this defendant and he surrendered on February 8, 2016 to
24   begin serving his sentence as ordered by the court.
25          Based on the above, the defendant requests this court to enter an order providing for the
26   exoneration of the property bond and the reconveyance of the Deed of Trust described above.
27   ///
28
           Case 1:12-cr-00213-AWI-BAM Document 340 Filed 03/22/16 Page 2 of 2



1    Dated: March 16, 2016                               Respectfully submitted,

2

3                                                        /s/ Carl M. Faller
                                                         CARL M. FALLER
4
                                                         Attorney for Defendant
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     ORDER:
6
            It is hereby ORDERED that the property bond described above is hereby exonerated, and
7
     Deed of Trust described above, Document No. 114 in the record of this case, be reconveyed
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9    since the case has concluded as to this defendant and he has surrendered to serve his sentence as

10   ordered by the court.

11
     IT IS SO ORDERED.
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13   Dated: March 22, 2016
                                                 SENIOR DISTRICT JUDGE
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